                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                 3:17-cr-263-MOC

UNITED STATES OF AMERICA,              )
                                       )
            vs.                        )
                                       )                             ORDER
CLARENCE ROBERT BROWN, JR.,            )
                                       )
                  Defendant.           )
_______________________________________)

       THIS MATTER is before the Court on Defendant’s pro se Motion for Reconsideration

of this Court’s Order denying Defendant’s Motion for Compassionate Release/Reduction of

Sentence. (Doc. No. 27). Defendant contends that changed circumstances warrant a

reconsideration of the Court’s prior denial of her motion for compassionate release.

                                            ORDER

       IT IS, THEREFORE, ORDERED that within 20 days the Government shall file a

response to Defendant’s motion.



                                                 Signed: October 13, 2021




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